

Matter of Reed (2025 NY Slip Op 02527)





Matter of Reed


2025 NY Slip Op 02527


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., OGDEN, NOWAK, DELCONTE, AND KEANE, JJ. (Filed Apr. 10, 2025.)


&amp;em;

[*1]FOURTH JUDICIAL DEPARTMENT, PETITIONER. DAVID JAMES REED, RESPONDENT.



MEMORANDUM AND ORDER
Order entered terminating suspension and granting application for reinstatement to the practice of law.








